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Timothy H. Treadwell SB#63037 F] L E D

TREADWELL, MARR & SCHOTT

2100 First National Bank Building 98 MAY 1 PM fs sei"

401 West "A" Street el us

San Diego, California 92101 SOUTHERN pies tie eee T COL

Telephone: (619) 595-4285 ANCISTRIET OF Gatiraaila
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Attorneys for Plaintiff } ury

SECURITY ASSETS CORP.

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA

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98cv 8858 (POR

SECURITY ASSETS CREDIT CORP., a CASE NO.
California Corporation and sometimes doing
business as FDIC MANAGEMENT FUND

37.5M

1, COMPLAINT FOR BREACH OF
CONTRACT AND MONEY DAMAGES:

2. NEGLIGENT MISREPRESENTATION
OF MATERIAL FACT;

3. INTENTIONAL MISREPRESENTATION
OF A MATERIAL FACT:

4, BREACH OF CONTRACT AND
MONEY DAMAGES;

5. BREACH OF CONTRACT-
RESCISSION,

6. NEGLIGENT MISREPRESENTATION
OF MATERIAL FACT:

7, INTENTIONAL MISREPRESENTATION
OF A MATERIAL FACT;

8. CONSPIRACY TO DEFRAUD

Plaintiff,

AMERIWEST ENTERPRISES, INC., an
Oregon Corporation, WILLIAM M. EVANS,

an individual, COLLINS FINANCIAL
SERVICES, INC., a Texas Corporation;

and FOURSCORE RESOURCE CAPITAL, a
Minnesota Limited Liability Company; WALTER
COLLINS, an individual; ROGER KNUFF, an
individual

Demand for Jury Trial

Defendants.

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Plaintiff SECURITY ASSETS CREDIT CORP, sometimes doing business as FDIC
MANAGEMENT FUND 37.5M, alleges as follows:

PRELIMINARY ALLEGATIONS
1. This Court’s jurisdiction is asserted pursuant to 28 U.S.C. §1332.

2. Venue with this Court is proper under 28 U.S.C. §1391(a) (2).

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3. Plaintiff SECURITY ASSET CREDIT CORP is, and at all relevant times herein
mentioned was, a Corporation, incorporated under the laws of the State of California with offices in
San Diego, California, herein referenced as “SACC”, and sometimes doing business as FDIC
Management Fund 37.5 M.

4, Defendant AMERIWEST ENTERPRISES, INC. is and at all relevant times herein
mentioned was a corporation organized under the laws of the State of Oregon, formerly doing
business as AMERIWEST BANCORP, INC., herein referenced as “AMERIWEST”.

5. Defendant WILLIAM M. EVANS is, and at all relevant times herein mentioned was,
an individual residing in Medford, Oregon, herein referenced as “EVANS”.

6. Defendant COLLINS FINANCIAL SERVICES, [NC., is and at all relevant times
herein mentioned was, a corporation organized under the laws of the State of Texas with offices in
Austin, Texas, herein referenced as “CFSI”.

7. Defendant FOURSCORE RESOURCE CAPITAL, is a Limited Liability Company,
organized under the laws of the State of Minnesota.

8. On or about December 2, 1997, Plaintiff was in the business of acquiring credit card
loan portfolios from various sources, for purposes of collecting monies due under such accounts, or,
in the alternative, selling such credit card portfolios to third parties.

9, On or about December 2, 1997, Plaintiff initiated contact with AMERIWEST and
EVANS to determine if AMERIWEST and/or EVANS could procure, on behalf of Plaintiff, certain
credit card loan portfolios which configured to precise criteria, as follows:

a. The entire principal balance of all accounts was not to
exceed Forty Million Dollars ($40,000,000,00);

b. All accounts were to have been charged off by the
issuing creditor between the time periods 1993-97;

C. No individual account within the portfolio would have a
principal balance in excess of $7500.00;

d. No accounts within the portfolio would relate to citizens
of the States of Texas and Florida;

e. All accounts would be within “statute”, a term of art
meaning that all accounts would not be barred by applicable Statute of
Limitation defenses;

f, The price for the portfolio would be between $0.015 to $ 0.018
per $100.00 of principal balance; and

g. The accounts within the portfolio would be mostly
“seconds”, a term of art meaning that the accounts had been
sent to no other collector’s or agencies other than one time.

10, On or about December 5, 1997, EVANS contacted individual principals of the
Plaintiff that he had located a portfolio of credit card accounts, which fully complied with the criteria
set forth above in paragraph 13 herein. Specifically, EVANS represented to Plaintiff that the
accounts had an average balance of $4500.00, none of which included accounts from Florida and
Texas, contained accounts solely from Master Card and Visa credit cards, and all had charge off dates
from 1993-96, or were otherwise in “statute”, and fully comported with the Account Configurations
set forth within paragraph 11a through , inclusive, herein. EVANS and AMERIWEST further
represented the source of these accounts came from the Federal Deposit Insurance Corporation and
or a derivative “spin off” agency.

11. On or about December 7, 1997, Plaintiff reviewed the portfolios and accounts sent by
EVANS and AMERIWEST through e-mail and by floppy disc. Upon receipt, Plaintiff commenced
due diligence to determine, as best as possible, whether the accounts submitted to it, conformed with
the desired criteria as more fully alleged within paragraph 9 herein.

12. Upon receipt of the e-mail and disc, as herein alleged, Plaintiff discovered many of the
accounts did not comport with the expresses criteria of Plaintiff, in that many of the account balances
exceeded the principal balance of $7500.00 and contained accounts relating to debtors residing in the
States of Texas and Florida.

13. | EVANS and AMERIWEST agreed to provide Plaintiff replacement accounts for their
review, would delete accounts having a principal balance in excess of $7500.00 and delete accounts
relating to debtors residing in the States of Texas and Florida. EVANS and AMERIWEST then
e-mailed and submitted to Plaintiff, and each of them, replacement accounts during the time periods
December 19, 1998 through December 26, 1998. As a result of the replacement of prior accounts
previously submitted to Plaintiff, as herein alleged, the number of total accounts now consisted of

approximately 25,000 in number. The data, now in the possession of the Plaintiff further indicated

new problems had developed with respect to the charge off dates of each of the accounts, in that
many of the accounts had been charged off in 1991-92, which was inconsistent with the express
criteria set forth more fully within paragraph 9 herein, and further, that many of the accounts as part
of the data failed to set forth a charge off date at all. Plaintiffadvised EVANS and AMERIWEST
of the same and EVANS and AMERIWEST orally represented to Plaintiff, as follows:

a. The accounts with missing charge off dates would be sent to Plaintiff
immediately;
b, The accounts with missing charge off dates would have charge

of dates between the time periods 1993-1997; and

C, The account data in the possession of Plaintiff with charge off
dates between the time periods of 1991 and 1992 would, in the
aggregate, contain a total of ninety percent (90%) within the applicable
Statute of Limitations.

14. Based upon on the review of the data, as above set forth, and the oral and repeated
promises of AMERIWEST and EVANS, as herein set forth, Plaintiff on or about January 6, 1998,
sent its representatives to Medford, Oregon to meet with EVANS and AMERIWEST. During this
time, EVANS and AMERIWEST again retterated and repeated that the accounts were “in statute”,
that is, not barred by any applicable Statute of Limitations, On or about January 7, 1998, Plaintiff
was advised for the first time that certain of the accounts did not entirely come from the Federal
Deposit Insurance Corporation, or a “spin off “ agency, but rather a small portion from CFSL.

15. At ali relevant times herein mentioned, EVANS and AMERIWEST had represented it
was acting as a Seller and owned the accounts to be conveyed to Plaintiff, as below set forth.

16. Based upon the oral representations of EVANS and AMERIWEST, as herein set
forth, and the written data provided to Plaintiff as herein alleged, Plaintiff then agreed to enter into
two (2) written contracts for sale of certain credit card portfolios, as follows:

a. A written contract, dated January 6, 1998 but not signed until
January 8, 1998, by and between Plaintiff SACC and AMERIWEST
for the purchase by SACC and sale by AMERIWEST ofa credit card
portfolio consisting of 1,353 accounts with an aggregate unpaid
principal balance of $1,998,649.9 for the sales price of $29,979.7, a

true copy of which is attached hereto as Exhibit “1” and by this
teference made a part hereof.

b. A written contract, dated January 6, 1998 but not signed until
January 8, 1998, by and between Plaintiff MANAGEMENT FUND and
AMERIWEST for the purchase by MANAGEMENT FUND and sale
by AMERIWEST of a credit card portfolio consisting of 24,325
accounts with an aggregate unpaid balance of $37,500,725.30 for the
sales price of $562,510.87, a true copy of which is attached hereto as
Exhibit “2” and by this reference made a part hereof.

17. AMERIWEST transferred all accounts and account data to Plaintiff by electronic
transfer, received in San Diego, California on or about January 12, 1998.

18. On or about January 15, 1998, the credit card portfolios purchased by Plaintiif, as
herein alleged (Exhibits 1 and 2), were electronically transferred by Plaintiff to Transunion Credit
Services and other entities for scoring and credit bureau review on each purchased account. Plaintiff
did not receive the final data until February 17, 1998. At such time, and for the first time, Plaintiff

becatne aware of the following facts:

a. Most of the accounts “ were out of statute”, that is, barred by
the applicable Statute of Limitations;

b. The charge off dates were erroneous and unreliable in that
many of the accounts had been charged off earlier than disclosed by
EVANS and AMERIWEST and that many, if not most, of the accounts
had been charged off ten (10) years earlier.

C. The debtors, when contacted by collectors representing the
Plaintiff, disputed the dates of the accounts and the balances owed.

d. The data was corrupted and unreliable, thus putting Plaintiff,
and each of them, at risk in violation of federal law governing the
collection of debt and the reporting of credit/debt transactions to
national credit bureaus, in the event they or either attempted to collect
tne debt.

19. Thereafter Plaintiff initiated a series of telephonic meetings with EVANS, and
AMERIWEST, and discovered the following:

a, AMERIWEST had never held the portfolios for its own
account, but rather had structured and brokered a series of in mes#e
transactions, wherein the accounts it sold to Plaintiff, came from three
other entities, namely CFSI and FOURSCORE, and Colorado Capital
Investment, Inc.

b. AMERIWEST received the sum of $592,490.62 from the
Plaintiff herein, who, in turn, paid to CFSI and FOURSCORE the sum
of $525,347.27, who in turn paid to Colorado Capital Investment, Inc,
the sum of $410, 797,87,

C. The i mesne transactions were subject to individual written
agreements, dated January 12, 1998, and three days subsequent to the
underlying sale contracts, exhibits “1” and “2”, herein. A true copy of
the contract by and between CFSI/ FOURSCORE and Colorado
Capital Investments, Inc, is attached hereto as Exhibit “4”, and by this
reference made a part hereof.

20. On or about February 16, 1998, EVANS spoke with a representative of Plaintiff and
EVANS finally admitted “the entire portfolio” sold to Plaintiff “came from CFS! and FOURSCORE.

21. Onor about February 17, 1998, Plaintiff now began in earnest several discussions
with AMERIWEST and EVANS to resolve the account discrepancies, as above set forth. During
such discussions EVANS admitted all of the charge off dates for all of the accounts sold to Plaintiff,
as herein alleged, came from an employee of CFSI, namely Scott Mongeau.

22,  Onor about February 22, 1998, Scott Mongeau stated to Plaintiff that the “accounts
had come from Colorado Financial Services, Inc., and were in bad shape when received.” Mr.
Mongeau aiso stated to Plaintiff that data from Colorado Financial Services, Inc. was corrupted and
contained bad data, and that he, Mr. Mongeau, had attempted to “clean -up” the data as best as
possible. Mr. Mongeau also told Plaintiff that he had told senior officials at CFSI not to sell these
accounts as the data was unreliable, out of statute and otherwise unsaleable.

23, Qn or about February 23, 1998 Plaintiff, and each of them, contacted Mr, Stallings of
Colorado Capital Investment, Inc., the apparent source of the accounts purchased by Plaintiff. Mr.
Stallings admitted that certain of the accounts Colorado Capital Investment, Inc. had transferred to
CFSI and FOURSCORE were part of an overall “ data- dump” and had included accounts not
intended to be sold, were without value, had charge off dates stemming from 1987, and were
otherwise accounts worked by various financial institutions on repeated occasions. Notwithstanding,
Plaintiff is informed and believe and thereon allege that many, if not most of the accounts sold to it
purportedly by AMERIWEST, were in fact assets which originated incidentally from Colorado
Capital Investment, Inc., and all parties upstream, including but not limited to CFSI and
FOURSCORE, had actual and or imputed knowledge of such facts through an employee of CFSI,

namely Scott Mongeau.

24. Onor about February 18, 1998, Walter Collins, a principal of CFSI, spoke with a

representative of Plaintiff, who stated the “true” history of the transactions, was as follows:

a. EVANS called Walter Collins (CFSD looking “for paper”;

b. A firm known as Pinnacle was contacted by Walter Collins who, in
turn, supplied accounts to CFSI and then to AMERIWEST accounts dated
1993 and 1994,

c. Mr. Collins and or his firm CFSI received the disputed 1991-92
Accounts to exchange with Pinnacle;

d. none of the “paper” transferred to Plaintiff was from the FDIC
atid or any “spin off“ entity.

€. Pinnacle was an entity whose principle was KNAUFF; and,

f. Michael Stalling was the principle of Colorado Capital
Investment, Inc.

25. Onor about February 23, 1998 a representative of Plaintiff contacted Michael Stalling.
Mr. Stalling acknowledged he worked for Colorado Capital Investments, Inc. and was familiar with
the accounts sold by it to parties upstream and eventually to Plaintiff. He stated the accounts certain
of the accounts were old, came from various financial institutions, were not” seconds”, had been
“worked for eighteen months”, and that Colorado Capital Investments, Inc., had collected more than
$720,500.00 from the accounts . He further stated Colorado Capital Investments, Inc. had sent two
(2) discs containing account data to CFSI, which discs contained information on portfolios in excess
of $48,000,000.00. Inasmuch as Colorado Capital Investments, Inc. did not have a computer
information specialist, Mr. Stalling advised Scott Mongeau of CFSI, that certain of the data stored on
the two (2) discs contained account data from many sources including Citibank, which accounts had
zero balances, were closed, and otherwise not to be sold by CFSI.

FIRST CLAIM FOR RELIEF
Breach of Contract-Money Damages
Defendant AMERIWEST

26. Plaintiff repleads and incorporates paragraphs | through 25 inclusive of its Preliminary

Allegations as though fully set forth herein at length.

27.  Onor about January 8, 1998, Plaintiff and AMERIWEST entered into that certain
written contract, dated January 6, 1998 (sic), wherein AMERIWEST agreed to sell, and SACC
agreed to purchase certain credit card loan accounts, which contract is attached hereto as Exhibit “1”,

28.  Onor about February 17, 1998 Plaintiff first became aware defendant AMERIWEST
materially breached the January 8, 1998 contract in that the accounts sold to Plaintiff were
uncollectible, in that the majority of the accounts, if not all, were barred by the applicable Statute of
Limitations, and were not “seconds”, as represented by AMERIWEST.

29, Plaintiff has done all things required of it under the terms and conditions of the
written contract.

30. Plaintiff has been damaged in an amount presently unknown, but in an amount in
excess of the minimal jurisdiction of this Court for diversity actions, in that it has suffered loss of
income, loss of use, loss of prospective business advantage, loss of interest and good wiil and
opportunity, all in an amount to be established at time of trial.

31. Asa result of the material breach as herein alleged, Plaintiff has been required to
retain the services of legal counsel and is entitled to reasonable attorney fees and costs incurred of
suit, in an amount to be established at time of trial.

SECOND CLAIM FOR RELIEF
Negligent Misrepresentation of a Material Fact
Against Defendant AMERIWEST

32. Plaintiff repleads and incorporates paragraphs | through 25, inclusive of its
Preliminary Allegations, and Paragraphs 27 and 29 of its First Claim for Relief as though fully set
forth herein at length.

33. At all relevant times herein, AMERIWEST knew or should have known, exercising
reasonable care and attention, that the accounts it intended to sell to Plaintiff were defective in that
the accounts were not “seconds” nor were the accounts “ all in statute”, as such representations were
made in writing to Plaintiff.

34. Asa direct and proximate result of the negligent omission to accurately represent the
true facts regarding the accounts sold to Plaintiff in that the accounts were not seconds nor all in

statute, Plaintiff has been damaged in an amount presently unknown, but in an amount in excess of

the minimal jurisdiction of this Court for diversity actions, in that it has suffered loss of income, loss
of use, loss of prospective business advantage, loss of interest and good will and opportunity, all in an
amount to be established at time of trial.

THIRD CLAIM FOR RELIEF
Defendant AMERIWEST and EVANS
Intentional Misrepresentation of a Material Fact

35. Plaintiff repleads and incorporates paragraphs | through 25 inclusive of its
Preliminary Allegations, and Paragraphs 27 and 29 of its First Claim for Relief as though fully set
forth herein at length.

36. On and before January 8, 1998, Defendant EVANS and AMERIWEST intentionally
misrepresented several material facts to Plaintiff in order and as a means to induce Plaintiff to enter
into that certain written Agreement dated January 8, 1998, by stating:

a. The accounts to be sold would be “in- statute”, that is, not

barred by the applicable Statute of Limitations,

b. The accounts had been owned by a spin off entity of the Federal
Deposit Corporation;

Cc. The accounts would have charge off dates no earlier than 1993;
d. The accounts within the portfolio would be mostly “seconds”, a
term of art meaning that the accounts had been sent to no other
collector’s or agencies other than one time; and

€. AMERIWEST was the owner of the accounts to be conveyed.

37. The material statements as alleged in paragraph 43 were false and, at the time such
statements were uttered, and were known to be untrue by AMERIWEST and EVANS.

38. Plaintiff fully relied upon each and every material representation made to it by
AMERIWEST and EVANS and was in fact induced to enter into that certain written agreement,
Exhibit “1” hereto,

39, Asa direct and proximate result of the intentional misrepresentations regarding the
accounts sold to Plaintiff, as herein set forth, Plaintiff has been damaged in an amount presently
unknown, but in an amount in excess of the minimal jurisdiction of this Court for diversity actions, in

that it has suffered loss of income, loss of use, loss of prospective business advantage, loss of interest

and good will and opportunity, all in an amount to be established at time of trial.

FOURTH CLAIM FOR RELIEF
Breach of Contract-Money Damages
Defendant AMERIWEST

anh replead and mcorporate paragraphs ough 2, inclusive ot its Prelimmary
Allegations as though fully set forth herein at length.

4. On or about January 8, 1998, Plaintiff and AMERIWEST entered into that certain
written contract, dated January 6, 1998 (sic), wherein AMERIWEST agreed to sell, and SACC
agreed to purchase certain credit card loan accounts, which contract is attached hereto as Exhibit “2”.

42, Qnor about February [7, 1998 Plaintiff first became aware defendant AMERIWEST
materially breached the January 8, 1998 contract in that the accounts sold to Plaintiff were
uncollectible, in that the majority of the accounts, if not all, were barred by the applicable Statute of
Limitations, and were not “seconds”, as represented by AMERIWEST.

43. Plaintiff has done all things required of it under the terms and conditions of the
written contract.

44. Plaintiff has been damaged in an amount presently unknown, but in an amount in
excess of the minimal jurisdiction of this Court for diversity actions, in that it has suffered loss of
income, loss of use, loss of prospective business advantage, loss of interest and good will and
opportunity, all in an amount to be established at time of trial.

4§, As a result of the material breach as herein alleged, Plaintiff has been required to
retain the services of legal counsel and is entitled to reasonable attorney fees and costs incurred of
suit, in an amount to be established at time of trial.

FIFTH CLAIM FOR RELIEF
Breach of Contract-Rescission
Defendant AMERIWEST

46, Plaintiff repleads and incorporates paragraphs | through 25, inclusive of its
Preliminary Allegations as though fully set forth herein at length.

47. Qnor about January 8, 1998, Plaintiff and AMERIWEST entered into that certain
written contract, dated January 6, 1998 (sic), wherein AMERIWEST agreed to sell, and Plaintiff

agreed to purchase certain credit card loan accounts, which contract ts attached hereto as Exhibit “2”.

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48. Onor about February 17, 1998 Plaintiff first became aware defendant AMERIWEST
materially breached the January 8, 1998 contract in that the accounts sold to Plaintiff were
uncollectible, in that the majority of the accounts, if not all, were barred by the applicable Statute of
Limitations, and were not “seconds”, as represented by AMERIWEST.

49. Plaintiff has done all things required of it under the terms and conditions of the
written contract.

50. Asa direct and proximate result of the material breach of the written agreement, as
herein alleged, Plaintiff seeks rescission of it purchase price of $562,510.87, together with interest
thereon at the legal rate of interest from January 8, 1998, until paid.

51. As a further direct and proximate result of the material breach as herein alleged,
Plaintiff has been required to retain the services of legal counsel and is entitled to reasonable attorney
fees and costs incurred of suit, in an amount to be established at time of trial.

SIXTH CLAIM FOR RELIEF
Negligent Misrepresentation of a Material Fact
Against Defendant AMERIWEST

52. Plaintiff repleads and incorporates paragraphs 1 through 25, inclusive of its
Preliminary Allegations, and Paragraphs 48 and 50 of its Fifth Claim for Relief as though fully set
forth herein at length.

53, At all relevant times herein, AMERIWEST knew or should have known, exercising
reasonable care and attention, that the accounts it intended to sell to Plaintiff were defective in that
the accounts were not “seconds” nor were the accounts “ all in statute”, as such representations were
made in writing to Plaintiff SACC.

54. Asa direct and proximate result of the negligent omission to accurately represent the
true facts regarding the accounts sold to Plaintiff in that the accounts were not seconds nor all in
statute, Plaintiff has been damaged in an amount presently unknown, but in an amount in excess of
the minimal jurisdiction of this Court for diversity actions, in that it has suffered loss of income, loss

of use, loss of prospective business advantage, loss of interest and good will and opportunity, all in an

amount to be established at time of trial.

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SEVENTH CLAIM FOR RELIEF
Defendant AMERIWEST and EVANS
Intentional Misrepresentation of a Material Fact

55. Plaintiff repleads and incorporates paragraphs 1 through 25, inclusive of its
Preliminary Allegations, and Paragraphs 47 and 49 of its fifth Claim for Relief as though fully set
forth herein at length.

56. Onand before January 8, 1998, Defendant EVANS and AMERIWEST intentionally
misrepresented several material facts to Plaintiff in order and as a means to induce Plaintiff to enter

into that certain written Agreement dated January 8, 1998, by stating:

a. The accounts to be sold would be “in- statute”, that is,
not barred by the applicable Statute of Limitations;

b. The accounts had been owned by a spin off entity of the
Federal Deposit Corporation;

C. The accounts would have charge off dates no earlier than 1993;
d. The accounts within the portfolio would be mostly “seconds”,
a term of art meaning that the accounts had been sent to no other
collector’s or agencies other than one time; and

e, AMERIWEST was the owner of the accounts to be conveyed.

57. The material statements as alleged in paragraph 60 were false and, at the time such
statements were uttered, were known to be untrue by AMERIWEST and EVANS.

58. Plaintiff fully relied upon each and every material representation made to it by
AMERIWEST and EVANS and was in fact induced to enter into that certain written agreement,
Exhibit “2” hereto.

59, Asa direct and proximate result of the intentional misrepresentations regarding the
accounts sold to Plaintiff, as herein set forth, Plaintiff has been damaged in an amount presently
unknown, but in an amount in excess of the minimal jurisdiction of this Court for diversity actions, in
that it has suffered loss of income, loss of use, loss of prospective business advantage, loss of interest
and good will and opportunity, all in an amount to be established at time of trial.

60. The intentional wrong doing of each of the Defendants AMERIWEST, EVANS and

Does | through 10, inclusive, and each of them, as herein alleged , acted with malice, fraud and

oppression in reckless disregard to the rights and duties of Plaintiff. The conduct of the Defendants,

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AMERIWEST, EVANS and Does | through 10, inclusive, was outrageous and despicable and
warrants the award of punitive damages in an amount not less that $5,000,000.00.
EIGHTH CLAIM FOR RELIEF
Conspiracy to Defraud
Against all Defendants

61. Plaintiff repleasds and incorporates paragraphs 1 through 25, inclusive of its
Preliminary Allegations as though fully set forth herein at length.

62. CFSI and FOURSCORE were at all relevant times herein mentioned engaged jointly in
a business activity for profit, by purchasing and selling certain credit card loan portfolios. ( Exhibits
“3” and “4”, herein).

63. Defendant WALTER COLLINS is an ail relevant times herein mentioned was an
individual residing in Austin, Texas, herein “COLLINS”.

64. Defendant ROGER KNUFF is and all relevant times herein mentioned was an
individual residing in Edenpraire, Minnesota, herein “KNUFF”.

65. Plaintiff is informed and believes and thereon alleges that at all relevant times herein
Defendants CFSI and FOURSCORE had knowledge of the intent of AMERIWEST and/or EVANS
to sell certain credit card portfolios to an unknown entity. CFS possessed this actual knowledge by
the fact it entered into contract with AMERIWEST to sell certain credit card portfolio accounts,
dated January 12, 1998, a true copy of which is attached hereto as Exhibit “3”, which assets were
mostly sold to Plaintiff.

66,  Plaintiffis further informed and believes and thereon alleges, CFSI and FOURSCORE
had acquired most of the assets eventually sold to Plaintiff by and through a contract dated January
12, 1998, a true copy of which is attached hereto as Exhibit “4”,

67, On or about February 23, 1998 a representative of Plaintiff contacted Michael
Stalling. Mr. Stalling acknowledged he worked for Colorado Capital Investments, Inc. and that he
was familiar with the accounts sold by it to parties upstream and eventually to Plaintiff. He stated
certain of the accounts were old, came from various financial institutions, were not “seconds”, had
been “worked for eighteen months”, and that Colorado Capital Investments, Inc., had collected more

than $720,500.00 from the accounts . He further stated Colorado Capital Investments, Inc. had sent

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two (2) discs of data to CFST, which discs contained information on portfolios in excess of
$48,000,000.00. Inasmuch as Colorado Capital Investments, Inc. did not have a computer
information specialist, Mr. Stalling advised Scott Mongeau of CFSI, that certain of the data stored on
the two (2) discs contained account data from many sources including Citibank, which accounts had
zero balances, were closed, and otherwise not to be sold by CFSI.

68. Onor about February 22, 1998, Scott Mongeau, an employee of CFSI, stated to
Plaintiff that the “accounts had come from Colorado Financial Services, Inc., and were in bad shape
when received”. Mr. Mongeau also stated to Plaintiff that data from Colorado Financial Services,
Inc. was corrupted and contained bad data, and that he, Mr. Mongeau, had attempted to “clean -up”
the data as best as possible. Mr. Mongeau also told Plaintiff that he had told senior officials, at CFS!
and COLLINS not to sell these accounts as the data was unreliable, out of statute and otherwise
unsaleable.

69, The Defendants, and each of them, on or before January 8, 1998, knowingly and
willfully conspired and agreed amongst themselves to sell worthless credit card accounts to one
another and thus to Plaintiff, knowing that each would profit by its co-conspirators wrong doing.

70. Each Defendant herein has subsequently ratified and the acts of wrong doing of the
others by accepting portions of the funds paid by Plaintiff to AMERIWEST for the purchase of
worthless account receivables, and has lent aid. cooperation and assistance to the other remaining
Defendant, so to profit wrongfully from the intentional sale of worthless accounts to Plaintiff herein.

71. Asa direct and proximate result of the wrong doing of each of the Defendants herein,
as herein alleged, Plaintiff has been damaged in an amount of $592,490,62, together with interest
thereon from January 9, 1998.

72. Asa further direct and proximate result of the wrong doing of each of the
Defendants herein, as herein alleged, Plaintiff has been damaged in that it has suffered loss of income,
loss of use, loss of prospective business advantage, loss of interest and good will and opportunity, all
in an amount to be established at time of trial.

73. The intentional wrong doing of each of the defendants, as herein alleged, was

calculated to cause injury to plaintiff, and the defendants, and each of them, as heretn alleged, acted

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with malice, fraud and oppression in reckless disregard to the rights and duties of Plaintiff. The
conduct of the Defendants, and each of them, as herein alleged, was outrageous and despicable and

warrants the award of punitive damages in an amount not less than $5,000,000.00.

WHEREFORE, Plaintiff prays judgement, as follows:
1. First Claim of Relief-(Against AMERIWEST)

a. For actual damages based upon breach of contract in an amount equal to
proof, including loss of profit, loss of use, loss of good will and opportunity,

all in an amount to be established at the time of trial.

b. For such other and further relief as this Court deems just and proper.
2, Second Claim of Relief-(Against AMERIWEST)
a. For actual damages based upon breach of contract in an amount equal to

proof, including loss of profit, loss of use, loss of good will and opportunity,
all in an amount to be established at the time of trial.

b. For such other and further relief as this Court deems just and proper.

3, Third Claim of Relief-(Against AMERIWEST and EVANS)

a. For actual damages based upon breach of contract tn an amount equal to
proof, including loss of profit, loss of use, loss of good will and opportunity,
all in an amount to be established at the time of trial.

b. For such other and further relief as this Court deems just and proper.
4. Fourth Claim of Relief-(Against AMERIWEST)

a. For actual damages based upon breach of contract in an amount equal to
proof, including loss of profit, loss of use, loss of good will and opportunity,
all in an amount to be established at the time of trial.

b. For such other and further relief as this Court deems just and proper.

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3. Fifth Claim of Relief-(Against AMERIWEST)

a. For rescission of the purchase price of $526,510.87, together with interest
thereon at the legal rate from January 8, 1998, through date of judgement,
inclusive;

b. For such other and further relief as this Court deems just and proper.

6. Sixth Claim for Relief-(Against AMERIWEST)

a. For actual damages based upon breach of contract in an amount equal
to proof, including loss of profit, loss of use, loss of good will and opportunity,
all in an amount to be established at the time of trial.

b. For such other and further reltef as this Court deems just and proper.

7. Seventh Claim for Relief- ( Against AMERIWEST and EVANS)

a. For actual damages based upon breach of contract in an amount equal
to proof, including loss of profit, loss of use, loss of good will and opportunity,
all in an amount to be established at the time of trial.

b. For punitive damages in an amount not less than $3,000,000.00; and

C. For such other and further relief as this Court deems just and proper.

8. Eighth Claim for Relief- (Against all Defendants)

a. For actual damages based upon breach of contract in an amount equal
to proof, including loss of profit, loss of use, loss of good will and opportunity,
all in an amount to be established at the time of trial.

b. For punitive damages in an amount not less than $3,000,000.00; and

C. For such other and further relief as this Court deems just and proper.

TREADWELL, & SCHOTT
Attorneys
DATED: x, |, , 1998 BY:
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Attorneys for Plaintiff

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LOAN PORTFOLIO
PURCHASE AGREEMENT

THIS PURCHASE AGREEMENT (the “Agreement”) is made and entered into effective as of
the 6” day of January, 1998 by and between AmeriWest Enterprises, Inc. (“Seller”), whose
address is 93 Northridge Terrace, #50, Medford, Oregon 97501 and (“Buyer”) whose name is
Security Asset Credit Corp., whose address is 701 “B” Street, Suite #1725, San Diego, California
92101,

ARTICLE I
DEFINITIONS

1.1 “Accounts” means certain of the Seller’s owned Loan Portfolio accounts or other
charged-off loan accounts that the Seller holds right, title and interest in and which
are to be sold pursuant to this Agreement.

1.2 “Debtors” means all parties obligated on the Accounts.

1.3 “Closing Date” means the date that liquid funds, in the amount of the Purchase Price,
are received and the Purchase Agreement is signed by both Buyer and Seller.

1.4 “Purchase Price” means the amount specified in Exhibit “B” below.

1.5 “Predecessors” means any entities (Previous Seller’s or Previous Owner’s) having
ownership of an Account by Seller.

1.6 “Original Creditor” means the original grantor of credit to the Debtor.

1.7 “Successor” means any party that an Account is sold to, traded to or given to by the
Buyer.

ARTICLE Ik
AGREEMENT TO SELL AND PURCHASE

2,1 AGREEMENT TO SELL AND PURCHASE. For and in consideration of the
Purchase Price and the covenants herein contained, Seller agrees to sell, assign,
transfer and convey to Buyer, and Buyer agrees to purchase from Seller, on the terms
and conditions set forth herein, all right, title and interest of Seller in and to the
Accounts and as further described in the portfolio (“Portfolio”) which is attached as
Exhibit “A”,

ARTICLE II
WARRANTIES AND REPRESENTATIONS

3.1 WARRANTIES AND REPRESENTATIONS. Buyer has made an independent
investigation as Buyer deems necessary as to the nature, validity, collectibility,

enforceability and value of the Accounts, and as to all other facts that the Buyer
deems material to Buyer’s purchase. Buyer enters into this Agreement solely on the
basis of that investigation and Buyer’s own judgment. Buyer is not acting in reliance
upon any representation by the Seller, other than as stated in this Agreement,
including without limitation, the representations set forth in 3.1 (a) below. The
transfer provided for in Paragraph 5.1 shall be expressly made without recourse or
representation as to the character, accuracy or sufficiency of information furnished to
Buyer, expressed or implied.

(a) Seller has good and indefeasible title, free from ltens and claims to Accounts
being sold.

(b} Seller agrees to buy back Loans over a sixty (60) day period from the Sale
Date in where the following has occurred:

(1) Bankruptcy

(2) Deceased (no estate)

(3) Paid/Settled prior to Sale
(4) Fraud

(c) To the best of Seller’s knowledge, ail balances, names, and other
information conveyed with accounts are true and accurate. All accounts are
represented as 2s and are within statute.

(d) Seller warrants that accounts have not been subject to any adverse selection
or scoring.

3.2 POST CLOSING PAYMENTS. In the event Seller receives any money on an
Account on or after the Closing Date, Seller shall remit such monies to Buyer
without offset or reduction.

ARTICLE IV
PURCHASE PRICE AND PAYMENT TERMS

4.1 PURCHASE PRICE. The Purchase Price for this Portfolio is calculated based on
cents per dollar of the outstanding balance of the Portfolio, as reflected in “Exhibit
B” (Closing Statement).

ARTICLE V
CLOSING PROCEDURES

§.1 BILL OF SALE. Seller will sign “Exhibit C” (Assignment and Bill of Sale) for all
assets listed in “Exhibit A”. Upon receipt of liquid funds in the amount of the
Purchase Price and the Purchase Agreement is signed by both Buyer and Seller.
Seller will send the Bill of Sale to Buyer by mail. Buyer assumes full responsibility
for the Portfolio following the Closing Date.

5.2 SHIPPING OF FILES. Within five (5) business days of receipt and delivery of the
Purchase Price and completion of this agreement, Seller will send hard copies or

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diskette(s) or use modem transfer or via the Internet that contain the following
information, if available, to Buyer:

Debtor name

Debtor address and phone number
Debtor social security number
Credit card name

Credit card type

Credit card number

Charge off date

Last payment date

Charge off balance

Issue date

MEDIA. For the purpose of this section Media refers to Applications, Acceptance
Certificates, Agreements, Account or Billing Statements and Balance Affidavits.

a). All immediately available Media in the possession of Seller will be
provided in the sale and no later than forty five (45) days from Closing
Date.

b). The Seller will use its best effort to obtain and provide, if available,
additional Media, which must be ordered form the Original Issuer. We
will charge the Purchaser for the actual expense charged by the Issuer.
The cost of obtaining the Media must be paid by the Purchaser prior to
ordering.

ARTICLE VI
GENERAL CONDITIONS

BUYER’S INDEMNIFCATION. Buyer agrees to indemnify and hold Seller and its
Predecessors (including their Officers, Directors, Employees, Stockholders, Agents,
Partners and Principals) harmless from and against any claim, actions, suits or other
actual proceedings, and all losses, judgments, damages, expenses or other costs
(including all fees and disbursements of Counsel} incurred or suffered by Seller and
its Predecessors by reason of negligent or willful misconduct or violation of any
applicable law, rule or regulation by Buyer (or its employees or agents) in
connection with the collection or enforcement of the Accounts.

SELLER’S INDEMNIFICATION, Seller agrees to indemnify and hold Buyer

(including their Officers, Directors, Employees, Stockholders, Agents, Partners and
Principals) harmless from and against any claims, actions, suits or other actual
proceedings, and all losses, judgments, expenses or other costs (including all fees and
disbursements of Counsel) incurred or suffered by Buyer by reason of negligent or
willful misconduct or violation of any applicable law, rule or regulation by Setler (or its
employees or agents) in connection with the collection or enforceability or sale of
Accounts.

6.2 LIMITATION OF LIABILITY. Seller and Buyer shall not be liable nor assume any
obligation for incidental consequential or speciat damages of any kind, related to lost
profit, lost revenue, cost of capital, use of capital and/or lost services.

6.3 NO CONFLICT. To the best of Buyer’s knowledge, Buyer’s review of Account and
Debtor information will not represent a conflict of interest on the part of the Buyer
or Buyer’s officers or employees, and that neither Buyer nor any of Buyer’s
affiliated companies is presently a party to litigation, or involved in any litigation,
with any Debtor or with the Seller or it’s Predecessors.

6.4 NO BROKERS OR FINDERS. The Seller has not employed any investment banker,
broker or finder in connection with the transaction contemplated in this Agreement
who might be entitled to a fee or commission from the Seller upon consummation of
the transaction contemplated in this Agreement. Any fee or commission due a
broker or finder employed by the Buyer will be the responsibility of the Buyer.
Buyer has not employed a broker, and is not responsible for any commissions.

6.5 COLLECTION OF ACCOUNTS. If Buyer collects or attempts to collect on any
Account, Buyer will at all times:

(a) Comply with all state and federal! laws applicable to debt collections
including, the Consumer Credit Protection Act, the Fair Credit Reporting
Acting and the Fair Debt Collection Practices Act; to the extent Buyer is
subject to said laws and Acts.

(b) Shall not use the name of Seller or any of Seller’s Predecessors in any way
in the operation of its collection of the Accounts, including but not limited to
checks, drafts, letters and forms except that Buyer may refer to an Account
in the body of a Collection letter as an account purchased from Seller or
originally issued by a predecessor of Seller. Buyer may refer to the Seller
and its Predecessor as transferor in any lawsuit filed by Buyer.

6.6 NOTICE OF CLAIM. Buyer shall immediately notify Seller in writing of any claim
against Seller or it’s Predecessor that may come to its Buyer’s attention.

6.7 BUYER’S REPRESENTATION OF CAPACITY. Buyer and/or the undersigned
authorized agent of Buyer represents that all laws, rules, reguiations, charter
provisions and by-laws have been duly complied with and that such representative is
duly authorized to act on behalf of and bind Buyer to the terms of this Agreement.

ARTICLE Vil
SELLER OR IT’S PREDECESSOR AS A WITNESS

7.1 SELLER AS A WITNESS. [f Buyer files legal action to collect on an Account and
requests or subpoenas an officer or employee of the Seller to appear at a trial,
hearing or deposition to testify about an Account, Buyer will pay the Seller for its
time in traveling to, attending and testifying at the trial, hearing or deposition,
whether or not the Seller is called as a witness, at the Seller’s standard daily rate ata -
reasonable rate not to exceed $150.00 per hour. Buyer will also reimburse the Seller
for the Seller’s out-of-pocket travel-related expenses,

7.2 SELLER'S PREDECESSOR AS A WITNESS. Refer to/same as 7.1 (above).

ARTICLE VIIE
USE OF THE ORIGINAL CREDITOR’S NAME

8.1 USE OF ORIGINAL CREDITOR’S NAME. Buyer and it’s Successors will not use
or refer to the Original Creditor’s name for any purpose relating to any Account
including, without limitation, the promotion, marketing or advertising of any
Account. However, Buyer may use the Original Creditor’s name for purposes of
identifying an Account in communications with the Account’s cardholder in order to
collect amounts outstanding on the Account in accordance with Paragraph 9.1 below.
Buyer may use the Original Creditor and Seller name as the transferor in any lawsuit
filed by Buyer.

ARTICLE IX
MISCELLANEOUS TERMS

9.1 NOTICES. All notices and other communications between the parties will be in
writing and will be deemed given when delivered personally or four (4) days after
mailed by registered or certified mail, return receipt requested, to a party at its
address set forth below, or to any other address as a party may designate in writing:

TO BUYER: Security Asset Credit Corp.
ATTENTION: Darrell Musick

TO SELLER: AmeriWest Enterprises, Inc.
ATTENTION: William M. Evans

9.2 SUCESSORS AND ASSIGNS. This Agreement will bind and insure to the benefit
of Buyer and the Seller and their respective successors and assigns.

9.3 EXPENSES. Except as otherwise expressly provided in this Agreement, Buyer and
Seller will each dear its own out-of-pocket expensed in connection with the
transaction contemplated by this Agreement.

9.4 ENTIRE AGREEMENT. This Agreement embodies the entire agreement and
understanding between the parties and supersedes all prior agreements and
understandings relating to the subject matter of this Agreement. The parties make no
representations or warranties to each other, except as contained in this Agreement or
the accompanying exhibits or the certificates or other closing documents delivered
according to this Agreement. All prior representations and statements made by any
party or its representatives, whether verbally or in writing, are deemed to have been
merged into this Agreement.

9.5 AMENDMENT. Neither this Agreement nor any of its provisions may be changed,
waived, discharged or terminated orally. Any change, waiver, discharge or

termination may be effected only by a writing signed by the party against which
enforcement of such change, waiver, discharge or termination is sought.

9.6 GOVERNING LAW; SEVERABILITY. Oregon law governs this Agreement. If
any one or more of the provisions of this Agreement, for any reason, illegal or
unenforceable, the invalidity, illegality or unenforceability will not affect any other
provision of this Agreement, and this Agreement will be construed without the
invalid, illegal or unenforceable provision.

9.7 WAIVERS, eic. No waiver of any single breach or default will be deemed a waiver
of any other breach or default of this Agreement. All rights and remedies, either
under this Agreement or by law or otherwise afforded to a party, will be cumulative
and not alternative.

9.8 HEADINGS. Paragraph headings are for reference only, and will not affect the
interpretation or meaning of any provision of this Agreement.

9.9 COUNTERPARTS. This Agreement may be signed in one or more counterparts, all
of which taken together will be deemed one original,

IN WITNESS WHEREOF, the parties have executed this Agreement by their duly authorized
officers as of the date first shown above.

SELLER: STL ae Inc.

BY: William M. Evans

DATE: January 6, 1998
TITLE, President & Chief Executive Officer

BUYER: Security Asset Credit Corp.
X_ Down Arh
BY: Darrell Musick
DATE: KX I~ §-)494%
TITLE: Portfolio Manager

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lermination may be effected only by a writing signed by the party against which
enforcement of such change, waiver, discharge or termination is sought.

9.6 GOVERNING LAW; SEVERABILITY. Oregon law governs this Agreement. If
any one or more of the provisions of this Agreement, for any reason, illegal or
unenforceable, the invalidity, illegality or unenforceabiltty will not affect any other
provision of this Agreement, and this Agreement will be construed without the
invalid, illegal or unenforceable provision.

5.7 WAIVERS, etc. No waiver of any single breach or default will be deemed a waiver
of any other breach or default of this Agreement. All rights and remedies, either
under this Agreement or by law or otherwise afforded to a party, wil! be cumulative

and not alternative.

9.8 HEADINGS. Paragraph headings are for reference only, and will not affect the
interpretation or meaning of any provision of this Agreement.

9.9 COUNTERPARTS. This Agreement may be signed in one or mare counterparts, all
of which taken together will be deemed one original.

IN WITNESS WHEREOF, the parties have executed this Agreement by their duly authorized
officers as of the date first shown above.

SELLER: ed ee .

_™ BY: Wilkam M, Evans
DATE: January 6, 1998
TITLE: President & Chief Executive Officer

BUYER: ~~ a AK sl

BY: Darrell Musick
DATE: x I = %-14738
TITLE: Portfolio Manager

This contract dated January 8. 1998 supercedes any and all other contracts made between
the parties.

EXHIBIT “A”

1.353 Accounts with a past due amount of $1,998,649.99 Sale price $29.979,75,

Total of this Invoice $29,979.75.

a) one diskette (total inventory), of said portfolio.

b) one print out (total inventory), of said portfolio.

Exhibit “B”

Closing Statement

Portfolio Invoice: $1,998,649.99

Number of Accounts: 1,353

Outstanding Balance: $1,998,649,99

Purchase Price: $29,979.75.

Purchaser shall pay to Seller, by wire transfer or otherwise immediately available funds,
the amount of 29 Thousand 9 Hundred 79 Dollars and 75/100.

Funds may be wired as follows:

Bank Name: Well’s Fargo Bank

Bank Address: 1328 South Riverside Ave.
Medford, Oregon 97501

ABA (Routing) Number: 121-000-248
Credit Bank Account Name: Ameri West Enterprises, Inc.
Credit Bank Account Number: 0166-804195

Description: Business

EXHIBIT “C”

PORTFOLIO INVOICE
ASSIGNMENT AND BILL OF SALE

Ameri West Enterprises, Inc. (“Seller”), has entered into a F.D.LC. Loan Portfolio Purchase
Agreement, dated 6th day of January, 1998 (“Agreement”) for the sale of Accounts described in
“Exhibit A” thereof to Security Asset Credit Corp. (“Buyer”), upon the terms and conditions set
forth in that Agreement.

NOW, THEREFORE, for good and valuable consideration, Seller hereby sells, assigns, and
transfers to Buyer, its successors and assigns, all of Seiler’s rights, title and interest in each and
every one of the Accounts described in the Agreement.

Buyer and Seller agree that the Purchase Price shal! be as stated in “Exhibit B”, attached to the
Agreement,

IN WITNESS WHEREOF, Seller has signed and delivered this instrument on the 6th day of

January, 1998,
By: | Nw SO

William M. Evans

TITLE: President & Chief Executive Officer

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F.D.LC.
LOAN PORTFOLIO
PURCHASE AGREEMENT

THIS PURCHASE AGREEMENT (the “Agreement”) is made and entered into effective as of
the gn day of January, 1998 by and between AmeriWest Enterprises, Inc, (“Seller”), whose
address is 93 Northridge Terrace, #50, Medford, Oregon 97501 and (“Buyer”) whose name is
E.D.LC. Management Fund 37.5M, whose address is 701 “B” Street, Suite #1725, San Diego.

California 92101.

ARTICLE I
DEFINITIONS

1.1 “Accounts” means certain of the Seller’s owned Loan Portfolio accounts or other
charged-off loan accounts that the Seller holds right, title and interest in and which
are to be sold pursuant to this Agreement.

1.2 “Debtors” means all parties obligated on the Accounts.

1.3 “Closing Date” means the date that liquid funds, in the amount of the Purchase Price,
are received and the Purchase Agreement is signed by both Buyer and Seller.

1.4 “Purchase Price” means the amount specifted in Exhibit “B” below.

1.5 “Predecessors” means any entities (Previous Seller’s or Previous Owner’s) having
ownership of an Account by Seller.

1.6 “Original Creditor” means the original grantor of credit to the Debtor.

1.7 “Successor” means any party that an Account is sold to, traded to or given to by the
Buyer.

ARTICLE I
AGREEMENT TO SELL AND PURCHASE

2.1 AGREEMENT TO SELL AND PURCHASE. For and in consideration of the
Purchase Price and the covenants herein contained, Seller agrees to sell, assign,
transfer and convey to Buyer, and Buyer agrees to purchase from Seller, on the terms
and conditions set forth herein, all right, title and interest of Seller in and to the
Accounts and as further described in the portfolio (“Portfolio”) which is attached as
Exhibit “A”.

ARTICLE Ii]
WARRANTIES AND REPRESENTATIONS

3.1 WARRANTIES AND REPRESENTATIONS. Buyer has made an independent
investigation as Buyer deems necessary as to the nature, validity, collectibility,

enforceability and value of the Accounts, and as to all other facts that the Buyer
deems material to Buyer’s purchase. Buyer enters into this Agreement solely on the
basis of that investigation and Buyer’s own judgment. Buyer is not acting tn reliance
upon any representation by the Seller, other than as stated in this Agreement,
including without limitation, the representations set forth in 3.1 (a) below. The
transfer provided for in Paragraph 5.1 shall be expressly made without recourse or
representation as to the character, accuracy or sufficiency of information furnished to
Buyer, expressed or implied.

(a) Seller has good and indefeasibie title, free from liens and claims to Accounts
being sold.

(b) Seller agrees to buy back Loans over a sixty (60) day period from the Sale
Date in where the following has occurred:

(1) Bankruptcy

(2) Deceased (no estate)

(3) Paid/Settled prior to Sale
(4) Fraud

(c) To the best of Seller’s knowledge, all balances, names, and other
information conveyed with accounts are true and accurate. All accounts are
represented as 2""s and are within statue.

(d) Seller warrants that accounts have not been subject to any adverse selection
or scoring.

3.2 POST CLOSING PAYMENTS. In the event Seller receives any money on an
Account on or after the Closing Date, Seller shall remit such monies to Buyer
without offset or reduction.

ARTICLE IV
PURCHASE PRICE AND PAYMENT TERMS

4.1 PURCHASE PRICE. The Purchase Price for this Portfolio 1s calculated based on
cents per dollar of the outstanding balance of the Portfolio, as reflected in “Exhibit
B” (Closing Statement).

ARTICLE V
CLOSING PROCEDURES

5,1 BILL OF SALE. Seller will sign “Exhibit C” (Assignment and Bill of Sale) for all
assets listed in “Exhibit A”. Upon receipt of liquid funds in the amount of the
Purchase Price and the Purchase Agreement is signed by both Buyer and Seller.
Seller wiil send the Bill of Sale to Buyer by mail. Buyer assumes full responsibility
for the Portfolio following the Closing Date.

5.2 SHIPPING OF FILES. Within five (5) business days of receipt and delivery of the
Purchase Price and completion of this agreement, Seller will send hard copies or

diskette(s) or use modem transfer or via the Internet that contain the following
information, if available, to Buyer:

Debtor name

Debtor address and phone number
Debtor social security number
Credit card name

Credit card type

Credit card number

Charge off date

Last payment date

Charge off balance

Issue date

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3.3 MEDIA. For the purpose of this section Media refers to Applications, Acceptance
Certificates, Agreements, Account or Billing Statements and Balance Affidavits.

a). All immediately available Media in the possession of Seller will be
provided in the sale and no later than forty five (45) davs from Closing
Date.

b). The Seller will use its best effort to obtain and provide, if available,
additional Media, which must be ordered form the Original Issuer. We
will charge the Purchaser for the actual expense charged by the Issuer.
The cost of obtaining the Media must be paid by the Purchaser prior to
ordering.

ARTICLE VI
GENERAL CONDITIONS

6.) BUYER’S INDEMNIFCATION. Buyer agrees to indemnify and hold Seller and its
Predecessors (including their Officers, Directors, Employees, Stockholders, Agents,
Partners and Principals) harmless from and against any claim, actions, suits or other
actual proceedings, and all losses, judgments, damages, expenses or other costs
(including all fees and disbursements of Counsel) incurred or suffered by Seller and
tts Predecessors by reason of negligent or willful misconduct or violation of any
applicable law, rule or regulation by Buyer (or its employees or agents) in
connection with the collection or enforcement of the Accounts.

SELLER’S INDEMNIFICATION. Seller agrees to indemnify and hold Buyer
(including their Officers, Directors, Employees, Stockholders, Agents, Partners and
Principals) harmless from and against any claims, actions, suits or other actual
proceedings, and all losses, judgments, expenses or other costs (including al] fees and
disbursements of Counsel) incurred or suffered by Buyer by reason of negligent or
willful misconduct or violation of any applicable law, rule or regulation by Seller (or its
employees or agents) in connection with the collection or enforceability or sale of
Accounts.

6.2 LIMITATION OF LIABILITY. Seller and Buyer shall not be liable nor assume any
obligation for incidental consequential or special damages of any kind, related to Jost
profit, lost revenue, cost of capital, use of capital and/or lost services.

6.3 NO CONFLICT. To the best of Buyer’s knowledge, Buyer’s review of Account and
Debtor information will not represent a conflict of interest on the part of the Buyer
or Buyer’s officers or employees, and that neither Buyer nor any of Buyer’s
affiliated companies is presently a party to litigation, or involved in any litigation,
with anv Debtor or with the Seller or it’s Predecessors.

64 NO BROKERS OR FINDERS. The Seller has not employed any investment banker,
broker or finder in connection with the transaction contemplated in this Agreement
who might be entitied to a fee or commission from the Seller upon consummation of
the transaction contempiated in this Agreement. Any fee or commission due a
broker or finder employed by the Buyer will be the responsibility of the Buyer.
Buyer has not employed a broker, and is not responsible for any commissions.

6.5 COLLECTION OF ACCOUNTS. If Buyer collects or attempts to collect on any
Account, Buyer will at al! times:

(a) Comply with all state and federal! laws applicable to debt collections
including, the Consumer Credit Protection Act, the Fair Credit Reporting
Acting and the Fair Debt Collection Practices Act; to the extent Buyer is
subject to said laws and Acts.

(b) Shall not use the name of Seller or any of Seiler’s Predecessors in any way
in the operation of its collection of the Accounts, including but not limited to
checks, drafts, letters and forms except that Buyer may refer to an Account
in the body of a Collection letter as an account purchased from Seller or
originally issued by a predecessor of Seller. Buyer may refer to the Seller
and its Predecessor as transferor in any lawsuit filed by Buyer.

6.6 NOTICE OF CLAIM. Buyer shail immediately notify Seller in writing of any claim
against Seller or it’s Predecessor that may come to its Buyer’s attention.

6.7 BUYER’S REPRESENTATION OF CAPACITY. Buyer and/or the undersigned
authorized agent of Buyer represents that all laws, rules, regulations, charter
provisions and by-laws have been duly complied with and that such representative is
duly authorized to act on behalf of and bind Buyer to the terms of this Agreement.

ARTICLE VII
SELLER OR IT’S PREDECESSOR AS A WITNESS

7. SELLER AS A WITNESS. If Buyer files legal action to collect on an Account and
requests or subpoenas an officer or employee of the Seller to appear at a trial,
hearing or deposition to testify about an Account, Buyer will pay the Seller for its
time in traveling to, attending and testifying at the trial, hearing or deposition,
whether or not the Selfer is called as a witness, at the Seiler’s standard daily rate at a
reasonable rate not to exceed $150.00 per hour. Buyer will also reimburse the Seller
for the Seller’s out-of-pocket travel-related expenses.

7.2 SELLER’S PREDECESSOR AS A WITNESS. Refer to/same as 7.1 (above).

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ARTICLE VII
USE OF THE ORIGINAL CREDITOR’S NAME

USE OF ORIGINAL CREDITOR’S NAME. Buyer and it’s Successors will not use
or refer to the Original Creditor’s name for any purpose relating to any Account
including, without limitation, the promotion, marketing or advertising of any
Account, However, Buyer may use the Original Creditor’s name for purposes of
identifying an Account in communications with the Account’s cardholder in order to
collect amounts outstanding on the Account in accordance with Paragraph 9.1 below.
Buyer may use the Original Creditor and Seller name as the transferor in any lawsuit
filed by Buyer.

ARTICLE IX
MISCELLANEOUS TERMS

NOTICES. All notices and other communications between the parties will be in
writing and will be deemed given when delivered personally or four (4) days after
mailed by registered or certifted mail, return receipt requested, to a party at its
address set forth below, or to any other address as a party may designate in writing:

TO BUYER: F.D.LC. Management Fund 37.5M
ATTENTION: Joe Pinsonneault

TO SELLER: AmeriWest Enterprises, Inc.
ATTENTION: William M. Evans

9.2 SUCESSORS AND ASSIGNS. This Agreement will bind and insure to the benefit

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of Buyer and the Seiler and their respective successors and assigns.

EXPENSES. Except as otherwise expressly provided in this Agreement, Buyer and
Seller will each dear its own out-of-pocket expensed in connection with the
transaction contemplated by this Agreement.

9.4 ENTIRE AGREEMENT. This Agreement embodies the entire agreement and

understanding between the parties and supersedes all prior agreements and
understandings relating to the subject matter of this Agreement. The parties make no
representations or warranties to each other, except as contained in this Agreement or
the accompanying exhibits or the certificates or other closing documents delivered
according to this Agreement. Ail prior representations and statements made by any
party or its representatives, whether verbally or in writing, are deemed to have been
merged into this Agreement.

9.5 AMENDMENT. Neither this Agreement nor any of its provisions may be changed,

waived, discharged or terminated orally. Any change, waiver, discharge or

termination may be effected only by a writing signed by the party against which
enforcement of such change, waiver, discharge or termination is sought.

9.6 GOVERNING LAW; SEVERABILITY. Oregon law governs this Agreement. If
any one or more of the provisions of this Agreement, for any reason, illegal or
unenforceable, the invalidity, illegality or unenforceability will not affect any other
provision of this Agreement, and this Agreement will be construed without the
invalid, illegal or unenforceable provision.

9.7 WAIVERS, etc. No waiver of any single breach or default will be deemed a waiver
of any other breach or default of this Agreement. All rights and remedies, either
under this Agreement or by law or otherwise afforded to a party, will be cumulative
and not alternative.

9.8 HEADINGS. Paragraph headings are for reference only, and will not affect the
interpretation or meaning of any provision of this Agreement.

9.9 COUNTERPARTS. This Agreement may be signed in one or more counterparts. all
of which taken together will be deemed one original.

EN WITNESS WHEREOF, the parties have executed this Agreement by their duly authorized
officers as of the date first shown above.

SELLER: AmeriWest Enterprisgs, Inc.
’ ; 7

=

BY: William M. Evans

DATE: January 6, 1998
TITLE: President & Chief Executive Officer

BUYER: F.D.LC. Management Fund 37.5M
x

é

BY: Joe Pinsonneault
DATE: X
TITLE: Portfolio Manager

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termination may be effected only by a writing signed by the party against which
enforcement of such change, waiver, discharge or termination is sought.

9.6 GOVERNING LAW; SEVERABILITY. Oregon law governs this Agreement. [f
any one or more of the provisions of this Agreement, for any reason, illegal or
unenforceable, the invalidity, illegality or unenforceability will nat affect any other
provision of this Agreement, and this Agreement will be construed without the
invalid, iflegal or unenforceable provision,

9.7 WAIVERS, etc. No waiver of any single breach or default will be deemed a waiver
of any other breach or default of this Agreement. All rights and remedies, either
under this Agreement or by law or otherwise afforded to a party, will be cumulative

and not alternative.

9.8 HEADINGS. Paragraph headings are for reference only, and will not affect the
interpretation or meaning of any provision of this Agreement.

9.9 COUNTERPARTS, This Agreement may be signed in one or more counterparts, all
of which taken together will be deemed one original.

IN WITNESS WHEREOF, the parties have executed this Agreement by their duly authorized
officers as of the date first shown above.

SELLER: AmeriWest Enterprises, Inc

f

BY: William M, Evans

DATE: January 6, 1998
TITLE: President & Chief Executive Officer

BY fave Pinsonneault

DATE:X AW 8/98

TITLE: Portfolio Manager

This contract dated January 8. 1998 supercedes any and all other contracts made between

the parties.

EXHIBIT “A”

24.325 Accounts with a past due amount of $37,500,725.30. Sale price $562,510.87.

Total of this Invoice $562,510.87.

a) one diskette (total inventory), of said portfolio.

5) one print out (total inventory), of said portfolio.

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Exhibit “B”

Closing Statement

Portfolio Invoice: §$37,499,159,52,

Number of Accounts: 24.221.
Outstanding Balance: $37.499,159.52.

Purchase Price: $562.510.87.

Purchaser shall pay to Seller, by wire transfer or otherwise immediately available funds.

the amount of 5 Hundred 62 Thousand § Hundred 10 Dollars and 87/100.

Funds may be wired as follows:

Bank Name: Well's Fargo Bank

Bank Address: 1128 South Riverside Ave.
Medford, Oregon 9750}

ABA (Routing) Number; [21-000-248
Credit Bank Account Name: AmeriWest Enterprises, Inc.
Credit Bank Account Number: 0166-804195

Description: Business

t

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EXHIBIT “C”

PORTFOLIO INVOICE
ASSIGNMENT AND BILL OF SALE

AmeriWest Enterprises, Inc. (“Seller”), has entered into a F.D.I.C, Loan Portfolio Purchase
Agreement, dated 6th day of January, 1998 (“Agreement”) for the sale of Accounts described in
“Exhibit A” thereof to F.D.LC, Management Fund 37.5M. (“Buyer”), upon the terms and
conditions set forth in that Agreement.

NOW, THEREFORE, for good and valuable consideration, Seller hereby sells, assigns, and
transfers to Buyer, its successors and assigns, all of Seller’s rights, title and interest in each and
every one of the Accounts described in the Agreement.

Buyer and Seller agree that the Purchase Price shal! be as stated in “Exhibit B”, attached to the
Agreement.

IN WITNESS WHEREOF, Seller has signed and delivered this instrument on the 6th dav of
January, 1998.

BY: (a
William M. Evans

TITLE: President & Chief Executive Officer

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LOAN SALE AGREEMENT yh

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THIS AGREEMENT, made this twelfth day of January 1998, by and between Fourscore Resource P|
Capital L.L.C., 801 S. 1" St., Suite 260, Hopkins, MN 55343 / Collins Financial Services, Inc. 3a
Bee Caves Road, Suite 210, Austin, Texas 78746, a Texas corporation on behalf of itself and allof  ~
its affiliates (hereinafter referred to as “Seller”), and AmeriWesi Enterprises, Inc, (hereinafter 8° be

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referred to as “Buyer’’). . = 2

| in consideration of $325,347.27 with considerations fo be made by cashier's check or by wire
transfer, the Seller hereby sells, assigns, transfers and conveys to Buyer without recourse,
warranty, either expressed or implied, or liability except as herein expressly set forth, all those
installment sale contracts, credit agreements, invoices, indebtedness, loans, or other obligations
and any insituments securing same (hereinafter referred to as “Receivables”} which are listed in
Schedule A attached hereto and made a part hereof, except any thereof which shail have been paid
to the Seller in full on or before the closing date of this sale. The above purchase shall include
transfer to Buyer of all physical records and files in Fourscore Resource Capital L.L.C/ Collins
Financial Services, Inc. possession relating to said Receivables.

2. With respect to the above Receivables, the Seller warrants that in reliance upon documents and
information furnished to it by Issuer and to the best of Seller’s knowledge and belief:

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a. It has complied, to the best of its knowledge and belief, with applicable federal, state
and local laws, and regulations relating to the making and collection of the
Receivables up to the date of the relevant sale.

b.  itowns good and marketable title to all of the Receivables, free and clear of all liens
and pledges.

C. It has full power and authority to sell, assign, transfer and convey the Receivables to
the Buyer, and al] other necessary proceedings on the part of the Seller have been
duly taken to authorize the sale.

d. All of the Receivables were made for valuable considerations and are now legaily
enforceable obligations of the respective persons shown as indebted thereon, except
as may be limited by statutes of limitations, bankruptcy, insolvency, moratorium,
receivership, conservatorship, reorganization or similar laws affecting the rights of
creditors generally or equitable principles limiting the right to obtain specific
performance or other similar relief.

e. The persons shown ua indebled on the Receivables have not initiated any lawsuits
against Seller, and such persons have no legally enforceable rights to set-off,
counterclaim, cancellation, or legally enforceable claim that the Receivables suffer

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from lack of consideration, forgery or alteration of such person’s signature, except
as may be disclosed or contained in the relevant file or documents.

f. The amounts shown on the hard copy and diskette to be owing and unpaid on the
respective Receivables represent the amount that was represented to Seiler by Issuer
to be due. Upon wnitten notice to seller by buyer, seller agrees to repurchase all
bankrupt Chapter 7 Receivables, Receivables where the debtor 1s deceased without
an estate, and previously settled Receivables within 60 days from the execution of
the Loan Sale Agreement, for the same percentage of the net outstanding balance that
Buyer paid for such Receivables, unless such condition was known by or disclosed
to Buyer.

g. There are no judgments against the Seller which could become a lien against the
Receivables.

3. Seller agrees that if, as to any of the Receivables, any of its wartanties herein are breached or

any Claim or defense exists against Buyer arising out of a breach of any warranty herein, Sells
will repurchase such Receivables on written demand with proof of the breach for the sam
Bere of the net outstanding balance that Buyer paid for such Receivables. Such repurcha:
eer s exclusive remedy for any such breach. :

Yemphall-not agguave-or incur. liability for any debt, orany. other.obligation of Seller, oth
than 2 as herein provided,
5. Buyer may advise debtors who are obligated on the Receivables that it has purchased su

Receivables and that all payments thereon shail be made to the Buyer and all legal and other acti
respecting the Receivables shall be taken by Buyer in its own name and not the name of Selle

6, Seller hereby constimtes and appoints Buyer the true and lawful special attorney-in-fact of Sel
in the name and stead of Seller, on behalf of and for the benefit of Buyer, to endorse the name
the Seller without recourse upon all checks, drafts, notes, powers and other forms of exchar
received as payment on any of the affected Receivables.

7. Seller further agrees that any payments received by the Seller on said Receivables from and after
the close of business on the date of this Agreement shall be tumed over and delivered to Buyer at
the time of the consummation of this Agreement. If such payments are received by the Seller after
this Agreement is consummated, Seller shall as soon as practical tum them over to Buyer.

%. The purchase and sale contemplated by this Agreement may be subject to the approval of certain

regulatory authorities, and if so the parties agree to obtain such approval prior to the date of
closing; otherwise, this Agreement shall be void at the other party's sole option.

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9. This agreement and any disputes arising under or as a result of the negotiation or execution of
this agreement shall be governed by and its provisions construed under the laws of the state of
Texas, and Federal laws where applicable. Any disputes between the parties, of any kind or
nature, shall be determined in the state or federal courts of Travis County, Texas and the parties
do consent to the personal jurisdiction of such courts, In any litigation between the parties to this
agreement, the maximum recovery to the prevailing party shall be limited to the consideration
given by that party under this contract, together with the prevailing party’s reasonable and
necessary attomey’s fees. In no event shall Seller be obligated to return any funds to Buyer
unless Seller receives from Buyer ail physical and electronic receivables to which such funds is
attributable together with any sums collected by Buyer on such receivables.

10. Buyer represents and warrants to Seller that:

a.

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It is a sophisticated investor and its bid for and decision to purchase the Account
Package (s) pursuant to this Agreement is and was based upon Buyer’s own
independent evaluation of the information made available by Seller to Buyer, and
Buyer's independent evaluation of each Account Package (s). Buyer has relied solely
on its own investigation and not on any oral or written information provided by
Seller or its personnel of agents other than information in the Account Package (s),
the representations and warranties set out in Item # 2 of this Agreement, and the

“Addendum to Loan Sale Agreement”. Buyer acknowledges that no employee or
representatives of Seller has been authorized to make, and the Buyer has not relied
upon, any statements other than those specifically contained in this Agreement, or

in any Account Package (5),

It is qualified to transact business and duly licensed in all jurisdictions where
necessary to purchase, hold, collect or enforce the Receivable or any amounts due
thereon.

That it haa full power and authority to purchase the Receivables fom Seller and that
all necessary proceedings on its part have been duly taken to authorize this purchase.

It will comply with all applicable laws, rules, regulations, ordinances and judgments
relating to or in any way affecting the purchase of the Receivables by Buyer, the
ownership thereof by Buyer or the collection or enforcement thereof by Buyer.

It will comply with all applicable laws, rules, regulations, ordinances and judgments
relating to or in any way affecting its collection procedures,

It acknowledges that the Assets, the Asset Documenta, and the Collateral, if any, may
have limited or no liquidity. Also, the Buyer has the financial wherewithal to own
the Assets for an indefinite period of time and to bear the economic risk of an

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outright purchase of the Assets and a total loss of the Purchase Price for the Assets.
Buyer acknowledges that the Assets may be Unenforceable Assets.

If it chooses to resell the accounts it will be to a sophisticated investor as represented
in paragraph 10a, and 10 f

Except as provided in paragraph 5 hereof, the relationship of the parties is solely that
of seller and buyer and Buyer shall have no authority or capacity otherwise to bind
or commit Seller to any act, obligation or liability, nor shall Buyer have any authority

to bind Seller contractually.

Buyer will indemnify and hold Seller harmless from any and all claims, demands,
actions, causes of actions, suits, judgments, actual or punitive damages, statutory
penalties, costs, fees and expenses arising from or in any way connected with Buyer's
attempt(s) to collect on any Receivable or concerning the failure of Buyer to keep or

comply with any term, condition, representation, warranty or agreement contained

herein or the incorrectness or falsity of any representation or warranty, which is or
becomes untrue in any material respect. The Seller will extend all of its rights to
indemnification against the original creditor and/or prior owners of these receivables.
The Seller agrees that the Buyer will have no responsibility and will be fully
indemnified for all losses, judgements, damage, expenses, and/or other costs
(including all fees and cost of legal counsel), for any acts or claims created by Seller.

The parties will negotiate in good faith in an effort to resolve any dispute. Any
controversy concerning this Agreement, which the parties cannot resolve within
thirty days, will first be directed to mediation in Austin, Travis County, Texas at the
Auatin Dispute Resolution Center or any private mediator upon whom the parties
agree with all expenses being shared equally by the parties. The mediation shall be
conducted pursuant to the rules of the Texas Alternative Dispute Resolution

Procedure Act (the “Act”) and Chapter 154 of the Texaa Civil Practice and Remedigs
Code (the “Cede”), In the event the dispute is still not resolved through mediation
then the dispute shall be settled by a mini-trial in State Court in Austin, Texas
pursuant to the Act and the Code. Buyer waives right to tial by jury. The mini-trial
shall be conducted ag described in Section 154.024 of the Texas Civil Practice &
Remedies Code and the parties shall select an impartial third party to conduct the
mini-trial or, if the parties cannot agree, the third party shail be selected by and be a
member of the Judicial Arbitration and Mediation Services. The patios agree that
the award in the ministrial hall be binding and may be reduced te judgment by any
Travis County, Texas District Court and enforced as in the case of any other
judgments.

11. This Agreement represents the entire agreement between the parties. There are no promises,

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inducements, representations, or warranties not expressly stated herein. This Agreement may not
be modified except by written instrument signed by all of the parties hereto. This Agreement
supersedes any prior understandings or written or oral agréements between the parties respecting
the Receivables, or the rights and obligations of the parties hereto.

ANY ADDENDUM OR EXHIBITS ATTACHED HERE TO BECOME A PART OF AND ARE

CORPO a THIS AGREEMENT.
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By: Fourscore Resource Capital, L.L.C.. By: AmeriWest Enterprises, Inc.

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By: Collins Financia! Services, Inc.

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Addendum to Loan Sale Agreement

Conditions of this sale are as follows:

1, Buyer agrees all communication and inquiry’s directed to the Issuer(s) will be handled through
Collins Financial Services, Inc. and agrees not to make contact with any representative of the
Issuer(s).

2. Any payments received from the Issuer(s) will be forwarded to Buyer via regular mail.

3. Media may be ordered from Seller at coat and if available.

€ accounts and Item “B’ and has satisfied himself as to the dates provided,

——
By: Fourscore Resource Capital, L.L.C.

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By: Collins Financial Services, Inc, By. Ameriwest Enterprises, Inc.

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IV.

ADDENDUM TO LOAN SALE AGREEMENT
EXHIBIT A

RECOURSE PROCEDURES

All accounts submitted for recourse must meet qualifications as outlined in Addendum to
Loan Sale, Exhibit B.

Buyer agrees to provide Seller hard copy verification of collection activity on each account
submitted for recourse.

Buyer agrees to provide verification of Bankruptcy Discharge and Deceased as outlined in
Addendum to Loan Sale, Exhibit B.

Buyer agrees to forward to Seller all files and documentation on qualifying recourse accounts
as outlined in Addendum to Lean Sale, Exhibit B, no more than once monthly, on the first
day of each month, at Buyers expense via the United States Postal Service or Overnight Mail

Service to:
Marloes Ligtenberg

Collins Financial Services, Inc.
3532 Bee Cave Rd., Ste. 210
Austin, Texas 78746

Seller agrees to refund qualifying recourse accounts with the amount equal to the purchase

price of that particular account to or accounts qualifying for recourse ag outlined in
Addendum to Loan Sale, Exhibit B.

Buyer must submit to Seller all qualifying recourse accounts on or before Friday, Mareh
13, 1998. After that date ne accounts will be accepted for recourse.

Buyer will appoint one of its employees (o be the recourse liaison between Buyer and Seller,
d Seller will appoint ons of its employees as recourse liaison between Buyer and Seller for

By: Fourscore Resource Capital, LLC.
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By: Collins Financial Services, Inc.

By: Ameri Weat Enterprises, Inc.

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ADDENDUM TO LOAN SALE AGREEMENT
EXHIBIT B
RECOURSE QUALIFICATIONS

BANKRUPTCY = Discharge
I. Account must have been discharged prior to the date of this Agreement.

2. If there are two or more debtors on the same account, all debtors must have been discharged.

3. Banlauptcy discharge must be verified by providing a copy of the discharge or following
information necessary to verify the discharge.

a, Attomey Name
b, Attomey Phone Number
c. Case Number

d. Discharge date

DECEASED

1, Debtor must have been deceased prior to the date of this Agreement.

2. If there are two or more debtors on the same account or the debtor is in a non-community
property state, all debtors must be deceased.

PAID IN FULL / SETTLED IN FULL

Verification must be provided.

FORGERY / FRAUD

Verification must be provided by fraud or forgery affidavit.

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Fourscore Resource Capital, L.L.C.

LGA tes ( )

By: Collina Financial Services, Inc. By: Ameri West Enterprises, Inc.

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Portfolio Invoice:

States:

Number of Accounts:

Outstanding Balance:

Purchase Rate:

pace Price,
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otherwise immediately available

On, or before the Closing Date,

Schedule A

Closing Statement and Invoice

$525,347.27

Various

25,561

$39,499, 794.79

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Purchaser shall pay to Seller by check or by wire wansfer or
funds, the amount of Five-hundred twenty-five thousand, three

hundred forty seven dollars and 27/100.

Funds must be wired as follows:
Bank Name:

ABA (Routing) Number:

Credit Bank Account Name:

Credit Bank Account Number:
Description:

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Wells Fargo Bank

609 Castle Ridge Road

Austin, Texas 78746
121000248

Collins Financial Services, Inc.
0745375667

Company Account

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Fotse 24-99 Lo: 3GP

Results For: 44 Mil

NOTES:

ITEM - B

Re-Scrub after Last Pay Field Update

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This 'Serub’ report replaces the

- ~ first one sent indicating dates of
” 1992 reflecting interest calculation
dates.
Debt Scrubber Totals 4

Life Time Breakdown: Totat Number of Accounts 26,269
Unavailable: 11208 Avgerage Balance $1,448.78
< ma: 209
2émo and <tyr: 4779 Total Balance $40,631 801 42
tyr and <ayrn a762 Weighted Avarage Last Payment 4/8/88
i aN aor ware Average Laat Payment Qate 423/88
Myre ene <8y rat 931 Averages Gharge-Off Date twaer
wilyre and thyra: 990
>Oyra and <lymi 363 Number of Accounts in-Statute 9
wtyee and clOyra; 1049
>{oyrn: 4385 Number of Accounts Out-Statute 26,269
Total # Accts 26269

LastPay Breakdown: C/O Breakdown:
Unavailable 11701 Unavaliaoie: 21498
LastPay Prior to '93: 43954 Charge Off Prior to ‘92: 4720
LastPay ‘8d; $48 Charge Off '93: 9
LastPay ‘$4: 23 Charge Off ‘$4: 16
LaatPay ‘95; 26 Charge Of 98; 21
LastPay ‘06: 14 Charge OF G8: 7
LastPay ‘G7: 1 Charge OF "97: 0
LastPay ‘98: 0 Charge Off '98: 0
LautPay >9'99; 6 Charge Off e='9; 0
Total # Accts 26269 Total # Accts 26269
Balance Breakdown: inconte Breakdown;
Unavaiiable (Null); 2 Unaveltabie 8,627
Balances1000; 9417 $10,000 $9
batance>$1000<825¢0: 12730 ma$i0,000 and < $20,000 2387
Balance §2500<$5000; 3534 >*$20,000 and «< $30,000 6,427
Balance>$6000$10,000: §36 >m$30,000 and < 340,000 4,783
Batance>$10,000<825, 000: 0 >0$.46,000 and < $60,000 3,346
Balancer§25,000: 0 >™§60,000 and < $400,000 405
Total # Agcts | _a6269 ¥2§100,000 18
Total # Accts 26,289

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ASSIGNMENT AND BILL OF SALE

Fourscore Resource Capital, L.L.C./ Collins Financial Services, Inc. (“SeHer”) has entered into
a Loan Sale Agreement, dated January 12, 1998 (“Agreement”) for the sale of Accounts described
in Schedule A thereof to AmeriWest Emerprises, Inc,(Buyer”)}, upon the terms and conditions sey
forth in that Agreement.

NOW, THEREFORE, for geod and valuable consideration, Seller hereby sells, assigns, and
tranafers to Buyer all of Selier’s rights, title and interest in cach and every one of the Accounts
described in the Agreement, provided however such wansfer is made without any representations,
warranties or recourse, except a8 provided in the Agreement.

Buyer and Seller agree that the Purchase Price shail be as stated in Schedule A, attached to the
Agreement.

. . 4h
IN. WITNESS WHEREOF, Seller has signed and delivered this instrument on the [hay of
( f., 1998,

Roger Knauf: Pecsidem Séee- Madr.
Collins Financial Services, Inc.

By: LE gle

Walt Collins- President

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LOAN SALE AGREEMENT

THIS AGREEMENT, made this twelfth day of January 1998, by and between Collins Financial

Services, Inc.

3532 Bee Caves Road, Suite 210, Austin, Texas 78746, a Texas corporation/

Fourscore Resource Capital. L.L.C., 810 S. 1* St, Ste. 260, Hopkins, MN 55343 on behalfofitself |
and all of its affiliates (hereinafter referred to as “Buyer”), and Colorado Capital Investments, Inc.
(hereinafter referred to as “Seller’”). . ——___.,

1. Inconsideration of § 410,797.87 with considerations to be made by cashier's check or by wire
tranafor, the Seller hereby solu, assigna, wansfera and conveys to Buyer without recourse,
wartanty, dither sxpreased or imnplicd, or ability except ag herein expressly set forth, all those
intaliment sale contracts, credit agreements, invoices, indebledness, loans, or other obligations
and any instruments securing same (hereinafter referred to as “Receivables”) which are listed in
Schedule A attached hereto and made a part hereof, except any thereof which shall have been paid
to the Seller in full on or before the closing date of this sale. The above purchase shall include

transfer to Buyer of all physical records and files in Colorado Capital Investments, ine, possession
relating to said Receivables.

2. With respect io the above Receivables, tha Seller warrants that in reliance upon ducuments and
information furnished to it by Issuer and to the best of Sallor's knowledge and belief:

a,

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It has complied, to the best of ite knowledge and belief, with applicable federal, state
and locai laws, and regulations relating to the making and collection of the
Receivables up to the date of the relevant sale.

It owns good and marketable title to all of the Receivables, free and clear of all liens
and pledges.

It has full power and authority to sell, assign, transfer and convey the Receivables to
the Buyer, and all other necessary proceedings on the part of the Seller have been
duly taken to authorize the sale.

All af the Racaivables were made for valuable considerations and are naw legally
enforceable obligations of the respective parsons shown aa indebted thereon, sxcept
ag may be limited by gtalutes of iiinilations, oankruptey, insolvency, moratorium,
receivership, conservatorship, reorganization or similar laws affecting the rights of

creditors generally or equitable principles limiting the right to obtain specific
performance or other similar relief.

The persons shown as indebted on the Receivables have not initiated any lawsuits
against Seller, and such persona have no Icgally enforceable rights to set-off,
counterclaim, cancellation, or legally enforceable claim that the Receivables suffer

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LOAN SALE AGREEMENT

THIS AGREEMENT, made this twelfth day of January 1998, by and between Collins Financial
Services, Inc. 3532 Bee Caves Road, Suite 210, Austin, Texas 78746, a Texas corporation’ 0 taf
Fourscore Resource Capital. L.L.C., 8108. 1" St, Ste. 260, Hopkins, MN 55343 on behalf of itself /
and all ofits affiliates (hereinafter referred to ag “‘Buyer”), and Colorado Capital Investments, Inc.
(hereinafter referred to as “Seller”). — ———____—.

1. Ta consideration of $410,797.87 with considerations to be made by cashier's check or by wire
tranefer, the Seller horeby sols, assigna, transfers and conveys to Buyer without recourse,

wartanly, either expressed or iinplicd, of liability except ax hersin expressly aet forth, all those
installment sale contracts, credit agreements, invoices, indebtedness, loans, or other obligations
and any instruments securing same (hereinafter referred to as “Receivables”) which are listed in
Schedule A attached hereto and made @ part hereof, except any thereof which shall have been paid
to the Seller in full on or before the closing date of this sale. The above purchase shall include
trenafar to Buyar of all physical recorda and files in Colorado Capital Investments, tne, possession

relating to said Receivables.

2. With reepect ic the above Receivables, tha Seller warrants that in reliance upos documents and
information furnished to it by Issuer and to the best of Saller’s knowledge and belief:

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It has complied, to the beat of ita knowledge and belief, with applicable federal, state
and local laws, and regulations relating to the making and collection of the
Receivables up to the date of the relevant sale.

It owns good and marketable title to all of the Receivables, free and clear of all liens
and pledges.

It has full power and authority to sell, assign, transfer and convey the Receivables to
tha Buyer, and all other necessary proceedings on the part of the Seller have been
duly taken to authorize the asia.

Ali of the Receivables were made for valuabie conaiderationa and are new lagally
enforceable obligations of the respective persons shown ay indebted thereon, except
ag may be limited by alatutes of limitations, bankruptcy, insolvency, moratorium,
receivership, conservatorship, reorganization or similar laws affecting ithe rights of

creditors generally or equitable principles limiting the right to obtain specific
performance or other similar relief.

The persons shown as indebted on the Receivables have not initiated any lawsuits
against Seller, and such persona have no legally enforceable rights to set-off,
counterclaim, cancellation, or legally enforceable claim that the Receivables suffer

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from lack of considoration, forgery or alteration of such person's signature, except
as may be disclosed or contained in the relevant file or documents.

f. The amounts shown on the hard copy and diskatte to be owing and unpaid on the
respective Receivables represent the amount that waa represented to Seller by Iseuer
to be due. Upon written notice to seller by buyer, seller agrees to repurchase all

bankrupt Chapter 7 Receivables, Receivables where the debtor is deceased without
an estate, and previously settled Receivables within 90 days from the execution of
the Loan Sale Agreement, for the same percentage of the net outstanding balance that
Buyer paid for such Receivables, unless such condition was known by or disclosed
to Buyer.

g. There are no judgments against the Seller which could become a lien against the
Receivables,

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- 3,. Selier. agrees that if, aa to any of the Receivables, any of its warranties herein are breached or
any dluim or defense existe against Buyer arising out of a breach of any warranty herein, Seller

will repurchase such Receivables on written demand with proof of the breach for the same
percentage of the net outstanding balance that Buyer paid for such Receivables. Such repurchase
shall be Buyer’s exclusive remedy for any such breach.

4, Buyer shall not assume or inour liability for any debt, or any other obligation of Seller, other
than ag herein provided.

5, Buyor may advise debtore who are obligated on the Receivables that it has purchased such

Receivables and that all paymenta thereon shell be made to the Buyer and all legal and other action
respecting the Receivables shall be taken by Buyer in its own name and not the name of Seller.

6. Seiler hereby constitutes and appoints Buyer the true and lawful special attomey-in-fact of Seller
in the name and atead of Seller, on behalf of and for the benefit of Buyer, to endorse the name of
the Seller without recourse upon ail checks, drafts, notes, powers and other forms of exchange
received as payment on any of the affected Receivables. Scller further agrees that any payments
received by the Seller on said Receivables from and after the close of business on the date of this
Agreement shall be turned over and delivered to Buyer at the time of the consummation of this
Agreement. If such payments are received by the Seller after this Agreement is consummated,
Seller shall as soon as practical tum them over to Buyer.

7. The purchase and sale contemplated by this Agreement may be subject to the approval of certain
regulatory authorities, and if so the parties agree to obtain such approval prior to the date of
closing; otherwise, this Agreement shall be void at the other party’s sole option.

8. This agreement and any disputes arising under or as a result of the negotiation or execution of
this agreement shall be governed by and ity provisions construed under the laws of the state of

Loan Bale Agreement + Page 2

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Texas, and Federal laws where applicable. Any disputes between the parties, of any kind or
nature, shall be determined in the state or faderal courts of Travis County, Texas and the parties
do consent to the personal jurisdiction of such courts. In any litigation between the parties to this
agreement, the maximum recovery to the prevailing party shall be limited to the consideration
given by that party under this contract, together with the prevailing party’s reasonable and
necessary attorney’s fees. In no event shal! Seller be obligated to return any funds to Buyer
unless Seller receives from Buyer all physical and electronic recetvables to which such funds is
attributable together with any sums collected by Buyer on such receivables.

9. Buyer represents and warrants to Seller that:

Loan Sala Agreement - Page 3

It is qualified to transact business and duly licensed in all jurisdictions where
necessary to purchase, hold, collect or enforce the Receivable or any amounts due
thereon.

That it has full power and authority to purchase the Receivables from Seller and that
all necessary proceedings on its part have been duly taken to authorize this purchase,

It will comply with all applicable laws, rules, regulations, ordinances and judgments
relating to or in any way affecting the purchase of the Receivables by Buyer, the
ownership thereof by Buyer or lhe collection or enforcement thereof by Buyer.

It will comply with all applicable laws, rules, regulations, ordinances and judgments
relating to or in any way affecting its collection procedures.

It acknowledges that the Assets, the Asset Documents, and the Collateral, if any, may
have limited or no liquidity, Also, the Buyer hag the financial wherewithal to own

the Asscta for an indefinite period of time and to bear the economic risk of an
outright purchase of the Assets and a total loss of the Purchase Price for the Assets.

Buyer acknowledges that the Assets may be Unenforceable Assets.

Except as provided in paragraph 5 hereof, the relationship of the parties is solely that
of seller and buyer and Buyer shall have no authority or capacity otherwise to bind
or commit Seller to any act, obligation or liability, nor shall Buyer have any authority
to bind Seller contractually.

Buyer will indemnify and hold Seller harmless from any and all claims, demands,
actions, causes of actions, suite, judgments, actual or punitive damages, statutory
penalties, costs, fees and expenses arising from or in any way connected with Buyer’s
attempt(s) to collect on any Receivable or conceming the failure of Buyer to keep or
comply with any term, condition, representation, warranty or agreement contained

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herein or the incorrectness or falsity of any representation or warranty, which is or
becomes untrue in any materjal reagent. The Seiler will extend ail of its rights to

indemnification against the original crediter and/or prior owners of these receivables:
The Seller agrees that the Buyer will haye no responsibility and will be fully
indemnified for all losses, judgements, damage, expenses, and/or other costs
(including ail fees and cost of legal oqunsel), for any acts or claims created by Seller.

h. The parties will negotiate in good faith in an effort to resolve any dispute. Any
controversy concerning this Agrecment, which the parties cannot resolve within
thirty days, will first be dircctod to mediation in Austin, Travis County, Texas at the
Austin Dispute Resolution Center or any private mediator upon whom the parties
agree With al] expenses being shared equally by the parties. The mediation shall be
conducted pursuant to the rules of the Texas Alternative Dispule Resolution
Procedure Act (the “Act’} and Chapter 154 of the Texas Civil Practice and Remedies
Code (the Code”), In the event the dispute is still not resolved through mediation
then the dispute shall be settled by a mini-trial in State Court in Austin, Texas
pursuant to the Act and the Code. Buyer waives right to trial by jury. The mini-trial
shall be conducted as described in Section 154,024 of the Texas Civil Practice &
Remedies Code and the parties shall seloct an impartial third party to conduct the

vii. 4 _ titia-tial or, ifthe parties cannot agree, the third party shall be selected by and be a
JUST” | member of the Judicial Arbitration and Mediation Services. The parties agree that
oe the award in the mini-trial shall be binding and may be reduced to judgment by any
Travis County, Texas District Court and enforced as in the case of any other
judgments.

11. This Agreement represents the entire agreement between the parties. There are no promises,
inducements, representations, or warranties not exprosely stated herein. This Agreement may not
be modified except by written instrument signed by all of the parties hereto, Thia Agreement
supersedes any prior understandings or written or oral agreements between the parties respecting
the Receivables, or the rights and obligations of the parties hereto,

ANY ADDENDUM OPr EXHIBITS ATTACHED HERE TO BECOME A PART OF AND ARE

I§ AGREEMENT,
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rado apital lpvéstments, Inc. By: Fourscore Resource Capital, L.L.C.

By: Collins Financial Services, Inc.

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Addendum to Loan Sale Agreement
Conditions of this sale are as follows:
1, Buyer agrees all communication and inquiry’s directed to the Issuer(s) will be handled through
Colorado Capital Investments, Inc. and agrees nat to make contact with any representative of
the Issuer(s).
{
2. Any payments received from the Issuer(s) will be forwarded to Buyer via Froguiar mail.
3. Media may be ordered from Seller at cost and if available.
By: Fourscore Resource Capital, L.L,C.
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By: Collins Financial Services, Inc.
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By:

ADDENDUM TO LOAN SALE AGREEMENT
EXHIBIT A

RECOURSE PROCEDURES

Ali accounts submitted for recourse must meet qualifications as outlined in Addendum to
Loan Sale, Exhibit B.

Buyer agrees to provide Seller hard copy verification of collection activity on each account
submitted for recourse.

Buyer agrees to provide verification of Bankruptcy Discharge and Deceased as outlined in
Addendum to Loan Sale, Exhibit B.

Buyer agrees to forward to Seller all files and documentation on qualifying recourse accounts
as outlined in Addendum to Loan Sale, Exhibit B, no more than once monthly, on the first
day of each month, at Buyers expense via the United States Postal Service or Overnight Mail
Service to:

Colorado Capital Investments, Inc.
305 N.E, Loop 820, Ste. 604

Hearst, Texas 76053

Seller agrees to refund qualifying recourse accounts with the amount equal te the purchase
price of that particular account to or accounts qualifying for recourse a8 outlined in
Addendum to Loan Sale, Exhibit B.

Buyer must submit to Seller all qualifying recourse accounts on or before Monday, April
43,1998, After that date no accounts will be accepted for recourse.

Buyer will appoint one of its employees to be the recourse liaison between Buyer and Seller,
and Seller will appoint one of its employees as recourse liaison between Buyer and Seller for

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Collins Financial Services, Inc.

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By: Collins Financial Services, Inc. 8

Loan Sale Agrecmead - Papa 7

Schedule A
COLORADO CAPITAL INVESTMENTS, INC.

305 N.E. Loop 820 Ste. 604
Hearst, Toxes 76053

Closing Statement and Invoice

Vortiolia Invuige. $ 410,797.87
Siaies: Various
Number of Accounts: 25,561

Outstanding Balance:

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¥- .
Purchase Price: $ 410,797.87.

On, or before the Closing Date, Purchaser shal! pay to Seller by check or by wire transfer or
otherwise immediately available funds, the amount gf Four-hundred ten thousand, seven hundred
ninety agven dollars and 87/100 ($410,797.87).

Funds must be wired as follows:

Bank Name: Texas Commerce Bank

ABA (Routing) Number: 113000609

Credit Bank Account Name: Colorade Capltal Investments, Inc.
~~” Credit Bank Account Number: 07100833319
. Description: Company Account

Leas Sule Agreement - Page 5

ADDENDUM TO LOAN SALE AGREEMENT

EXHTRIT B
‘ RECOURSE QUALIFICATIONS
1. Account must have been discharged prior to the date of this Agreement.

z. if there wry twa or more debtors on tie ame Acoust, all debior’ must have bean discharged.

3. Bankruptcy discharge must be verifled by prayiding a copy of the discharge or follawing

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oct a

¢. Case Number

d. Discharge date
DECEASED

lL. Debtor must have been deceased prior to the date of this Agreement.

2. If there are two or more debtors on the same account or the debtor is in a non-community
property state, all debtors must be deceased,

PAID IN FULL / SETTLED IN FULL
Verification must be provided.

Verification must be provided by fraud or forgery affidavit.

By:/Colorado Capital Inxestrents, Inc. By: Fourscore Resource Capital LL.C. Rt
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COLORADO CAPITAL INVESTMENTS, INC.

ASSIGNMENT AND BILL OF SALE

Colorado Capital Investments, Inc. (“Seller”) has gntered into a Loan Sale Agreement, dated
January 12, 1998 (“Agreement”) for the sale of Aggounts described in Schedule A thereof to
Collins Financial Services, Inc./Four Score Resonrea Capital L.L.C. (Buyer”), upon the terms
and conditions aet forth in that Agreement.

NOW, THEREFORE, for good and valuable consideration, Seller hereby sells, assigns, and
transfers to Buyer ail of Seller’s rights, title and interest in each and every one of the Accounts
described in the Agreement, provided however such transfer is made without any representations,
warranties or recourse, except as provided in the Agreement.

Buyer and Seller agroe that the Purchase Prigg shail b¢ ag atated in Schedule A, attached to the
Agreement.

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S WHEREOF, Seiler has signed and dglivered this instrument on the ___ day of

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The J&-44 cil cover sheet and the information co d herein neither replace nor supplement the filing samice of pleadings or other papers as required

by law, éxcept as ofovided by Itcal rules of Court. This farm, approved by the Judicial Conference of the United States in September 1974, :s faquired for the use
of the Clark of Court for tne pumese of initiating the evil dacket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

|. (a) PLAINTIFFS DEFENDANTS
AMERIWEST ENTERPRISES, INC., an Oregon
SECURITY ASSETS CREDIT CORP., a

: . : , Corporation; WILLIAM M. EVANS, an
California Corporation and sometimes individual; COLLINS FINANCIAL SERVICE IN
dba FDIC MANAGEMENT FUND 37.5 a Texas Corporation; and FOURSCORE CAPIR
a Minnesota LLC, et al.

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(fb) COUNTY OF RESIDENCE OF FiasT Listen PLaTiFe San Diego COUNTY OF RESIDENCE OF FIRST LISTED CEFERDANT ar £9 at
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONQD=ES oO

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCAgRGN oF TIRR
TRACT OF LAND INVOLVED

{co} ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER}
Timothy H. Treadwell, Esq.

ATTORNEYS (IF KNOWN}

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ce
readwell, Marr & Schott “a
O1 West "A" Street, Ste 2100 at
San Diego, CA 92101 zn

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